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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION
                                                 :
Paul Skelton,                                    :
                                                 :
                      Plaintiff,                 :
       v.                                        : Civil Action No.: 5:12-cv-05210-JLH
                                                 :
Main Street Acquisition Corp.; and               :
DOES 1-10, inclusive,                            :
                                                 :
                      Defendants.                :
                                                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: December 19, 2012

                                                  Respectfully submitted,

                                                  PLAINTIFF, Paul Skelton

                                                  /s/ Sergei Lemberg

                                                  Sergei Lemberg, Esq.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2012, a true and correct copy of the foregoing
Notice of Settlement was served electronically by the U.S. District Court for the Western District
of Arkansas Electronic Document Filing System (ECF) and that the document is available on the
ECF system.

                                             By_/s/ Sergei Lemberg_________
                                                    Sergei Lemberg, Esq.
